Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 1 of 29 Page ID
                                    #:499




                Exhibit 1
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 2 of 29 Page ID
                                    #:500




                                  Exhibit 1                              1-1
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 3 of 29 Page ID
                                    #:501




                                  Exhibit 1                              1-2
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 4 of 29 Page ID
                                    #:502




                                  Exhibit 1                              1-3
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 5 of 29 Page ID
                                    #:503




                                  Exhibit 1                              1-4
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 6 of 29 Page ID
                                    #:504




                                  Exhibit 1                              1-5
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 7 of 29 Page ID
                                    #:505




                                  Exhibit 1                              1-6
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 8 of 29 Page ID
                                    #:506




                                  Exhibit 1                              1-7
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 9 of 29 Page ID
                                    #:507




                                  Exhibit 1                              1-8
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 10 of 29 Page ID
                                    #:508




                                  Exhibit 1                               1-9
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 11 of 29 Page ID
                                    #:509




                                  Exhibit 1                             1-10
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 12 of 29 Page ID
                                    #:510




                                  Exhibit 1                             1-11
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 13 of 29 Page ID
                                    #:511




                                  Exhibit 1                             1-12
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 14 of 29 Page ID
                                    #:512




                                  Exhibit 1                             1-13
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 15 of 29 Page ID
                                    #:513




                                  Exhibit 1                             1-14
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 16 of 29 Page ID
                                    #:514




                                  Exhibit 1                             1-15
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 17 of 29 Page ID
                                    #:515




                                  Exhibit 1                             1-16
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 18 of 29 Page ID
                                    #:516




                                  Exhibit 1                             1-17
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 19 of 29 Page ID
                                    #:517




                                  Exhibit 1                             1-18
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 20 of 29 Page ID
                                    #:518




                                  Exhibit 1                             1-19
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 21 of 29 Page ID
                                    #:519




                                  Exhibit 1                             1-20
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 22 of 29 Page ID
                                    #:520




                                  Exhibit 1                             1-21
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 23 of 29 Page ID
                                    #:521




                                  Exhibit 1                             1-22
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 24 of 29 Page ID
                                    #:522




                                  Exhibit 1                             1-23
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 25 of 29 Page ID
                                    #:523




                                  Exhibit 1                             1-24
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 26 of 29 Page ID
                                    #:524




                                  Exhibit 1                             1-25
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 27 of 29 Page ID
                                    #:525




                                  Exhibit 1                             1-26
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 28 of 29 Page ID
                                    #:526




                                  Exhibit 1                             1-27
Case 2:16-cv-09178-MWF-E   Document 37-2 Filed 01/23/18   Page 29 of 29 Page ID
                                    #:527




                                  Exhibit 1                             1-28
